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 1                                                            District Judge Jamal N. Whitehead

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 3
                              UNITED STATES DISTRICT COURT FOR THE
 4                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 5

 6
     PLAINTIFF PACITO; PLAINTIFF ESTHER;               CASE NO. 2:25-cv-255-JNW
 7   PLAINTIFF JOSEPHINE; PLAINTIFF
                                                       JOINT SUBMISSION REGARDING
     SARA; PLAINTIFF ALYAS; PLAINTIFF                  DEFENDANTS’ DAY SEVEN
 8   MARCOS; PLAINTIFF AHMED;                          COMPLIANCE FEASIBILITY
     PLAINTIFF RACHEL; PLAINTIFF ALI;                  CONCERNS
 9   HIAS, INC.; CHURCH WORLD SERVICE,
     INC.; and LUTHERAN COMMUNITY
10   SERVICES NORTHWEST,

11                     Plaintiffs,

12
             v.
13   DONALD J. TRUMP, in his official capacity
     as President of the United States, MARCO
14   RUBIO, in his official capacity as Secretary of
     State, KRISTI NOEM, in her official capacity
15   as Secretary of Homeland Security;
     DOROTHY A. FINK, in her official capacity
16   as Acting Secretary of Health and Human
     Services,
17
                      Defendants.
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24 JOINT REPORT                                             U.S. Department of Justice
                                                            Civil Division, Office of Immigration Litigation
                                                            P.O. Box 878, Ben Franklin Station
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 1 Defendants’ Submission:

 2          On Thursday, May 8, 2025, the Parties met and conferred to discuss the Government’s

 3 feasibility concerns as related to Day Seven Compliance Measures. The Government then drafted in

 4 writing its concerns and shared with Plaintiffs on Thursday afternoon as a first step towards reaching

 5 agreement on modified compliance measures. For each of the Day Seven Compliance Measures for

 6 which the Government has feasibility concerns, the Government identified in its draft shared with

 7 Plaintiffs: (a) the specific compliance measures at issue, (b) the precise operational constraints

 8 preventing compliance, and (c) proposed alternative compliance measures.

 9          On Friday, May 9, 2025, the Ninth Circuit Court of Appeals granted Defendant’s Motion to

10 Amend or Further Clarify its March 25, 2025 partial stay of this Court’s first preliminary injunction.

11 The Ninth Circuit explained that the limited carveout from the stay “should be interpreted narrowly,

12 on a case-by-case basis, to apply to individuals with a strong reliance interest arising prior to January

13 20, 2025, comparable to Plaintiff Pacito.” Pacito v. Trump, No. 25-1313 Dkt. Entry 64.1 (9th Cir.

14 2025). Defendants adjusted their submission to Plaintiffs reflect the Ninth Circuit’s May 9th order.

15 Plaintiffs’ Submission:

16          Defendants do not identify actual feasibility concerns based on operational constraints that

17 require relief from the measures ordered by the Court—but instead use this process to announce the

18 limited compliance efforts they are willing to undertake. Despite the court’s admonitions, Defendants

19 continue to “approach[] the task at hand with one arm behind its back,” May 1, 2025 Hrg. Tr. At 35:22-

20 23, instead of promptly taking steps entirely within their control to comply with the preliminary

21 injunctions.

22          The Court has made clear that Defendants are required to continue processing the full cohort

23 of injunction-protected refugees. Disregarding this instruction, Defendants continue to hew to their
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 1 invented two-week cut-off and have only taken steps to resume processing for a small group of 160

 2 refugees. This is not due to specific operational constraints but rather to Defendants’ decision to only

 3 process a limited number of refugees and continue to suspend the bulk of the resettlement

 4 infrastructure. This approach does not comply with the Court’s order.

 5          Plaintiffs do not believe that the Ninth Circuit’s most recent order clarifying the scope of its

 6 stay, Pacito v. Trump, No. 25-1313, Dkt. No. 64.1 (9th Cir. May 9, 2025), alters Defendants’

 7 obligations under the Court’s Compliance Framework Order, Dkt. No. 119. All refugees with travel

 8 booked before January 20 had a strong reliance interest in their upcoming travel. Many of these

 9 refugees had waited years for resettlement, and had organized their entire lives around their upcoming

10 travel, including moving, selling belongings, and leaving employment. Defendants, who have no

11 contact with refugee applicants between their conditional approval and travel, should not be permitted

12 to be the arbiter of which refugees had a sufficiently strong reliance interest to fall under the Ninth

13 Circuit’s carveout from the stay of the first preliminary injunction. This Court is responsible for

14 interpreting and enforcing the Ninth Circuit’s order, and nothing in the order indicates otherwise.

15 Plaintiffs request that the Court reject Defendants’ proposal of an alternate plan for renewing

16 clearances only for the refugees who Defendants themselves deem to have had a strong reliance

17 interest arising prior to January 20.

18                              DAY SEVEN COMPLIANCE MEASURES

19      a. Provide an update to Plaintiffs regarding the status of each individual plaintiff’s case;
           and for each individual plaintiff who qualifies as an Injunction-Protected Refugee,
20         identify any remaining processing steps that must be taken before they can travel to the
           United States.
21
            Defendants’ Submission:
22
                    No feasibility concerns.
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 1          Plaintiffs’ Submission:

 2                  No response.

 3      b. Instruct agency offices and staff, including U.S. embassies, to resume processing the cases
           of Injunction-Protected Refugees. Defendants must advise all government offices and
 4         officials involved in processing refugee applications abroad that Defendants and their
           agents are enjoined from implementing any suspension of processing, travel, admissions,
 5         and domestic resettlement support for Injunction-Protected Refugees.

 6          Defendants’ Submission:

 7                  No feasibility concerns as applied to those individuals who, in accordance with the

 8          Ninth Circuit’s May 9, 2025 Order granting in part Defendants’ Motion to Amend Order

 9          Granting a Stay, or, in the Alternative, for Clarification (“May 9 Order”), had a strong reliance

10          interest arising prior to January 20, 2025, as assessed on a case-by-case basis.

11                  The State Department requires all refugees to travel with arrangements made by IOM

12          or, in exceptional and extremely limited circumstances, travel booked by a U.S. government

13          entity. This applies to follow-to-join refugee (FTJ-R) beneficiaries as well. See 9 FAM 203.6-

14          15(a) (“All [FTJ-R] beneficiaries must travel to the United States under IOM’s auspices; they

15          may not make their own separate travel arrangements.”). Although the U.S. government briefly

16          made an exception to this policy in March 2025 during the course of this suit because IOM

17          was unable to schedule travel at the time, based on policy and practice, the Government

18          reasonably concludes that no refugees had travel plans on or before January 20, 2025, that

19          “was self-arranged.” And the Government is not aware of any other “USRAP instrumentality”

20          that arranges travel for refugees besides IOM.

21          Plaintiffs’ Submission:

22                  Defendants note in conjunction with this measure that they have rescinded the self-

23          travel option for follow-to-join refugees that they previously created to comply with the first
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 1           preliminary injunction. Defendants should use the tools they have at hand to ensure compliance

 2           with the injunction and continue to permit a self-travel option for follow-to-join refugees that

 3           are able to coordinate and afford independent travel. See Dkt. 119 at 9 (requiring Defendants

 4           to “restart production of travel documents” for injunction-protected follow-to-join refugees by

 5           May 19).1

 6       c. Confirm to the Court that the suspension on admission of Injunction-Protected Refugees
            has been lifted such that there is no impediment to Injunction-Protected Follow-to-Join
 7          Refugees with travel documents traveling to the United States and seeking admission.

 8           Defendants’ Submission:

 9                   No feasibility concerns with confirming to the Court that the suspension on admission

10           has been lifted for individuals who, in accordance with the Ninth Circuit’s May 9 Order, had

11           a strong reliance interest arising prior to January 20, 2025, as assessed on a case-by-case basis.

12           However, remaining impediments include:

13                   1) The NVC security checks for all Injunction-Protected Refugee—including FTJ-

14                   Rs—have lapsed and will need to be redone before new travel documents may be

15                   issued. This expiration is due to issues with recurrent vetting unrelated to the pause of

16                   the USRAP consistent with E.O. 14163. NVC security checks are currently only valid

17                   for 30 days from the time security checks are requested.

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20   1
       Defendants claim that refugees may only in “exceptional and extremely limited circumstances” travel with
     arrangements “booked by a U.S. government entity” (instead of IOM). But the U.S. government has just made
21   plans to charter a government plane to transport 54 Afrikaner refugees to the U.S. this Sunday—all of whom
     were approved for refugee status in the months while the injunction-protected refugees’ cases stalled. See Zolan
22   Kanno-Youngs, et al., Trump Officials Seek to Bring First White Afrikaners to U.S. as Refugees Next Week, NY
     Times (May 9, 2025), available at https://www.nytimes.com/2025/05/09/world/africa/trump-afrikaner-
23   refugees.html.
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 1                  2) The medical examinations for some Injunction-Protected FTJ-Rs have expired and

 2                  will need to be redone before new travel documents may be issued. Medical

 3                  examinations are typically valid for six months.

 4                  3) Longstanding State Department policy requires FTJ-Rs to travel with flights

 5                  arranged by IOM. See 9 FAM 203.6-15(a). Self-travel is not an option for refugee

 6                  applicants, including FTJ-Rs. Previous self-travel for FTJ-Rs in March 2025 was

 7                  conducted as an exception to this policy and only because, at that time, IOM was unable

 8                  to schedule refugee applicants’ travel.

 9          Plaintiffs’ Submission:

10                  The impediment cited by Defendants is a change in the validity period for the NVC

11          security check that post-dates the executive order: these checks that were previously valid for

12          36 months are now, according to Defendants, valid for only 30 days. Notwithstanding this

13          new development, which has resulted in all injunction-protected refugees needing at least one

14          security clearance to be redone, these checks are a routine component of the refugee vetting

15          process that do not on their own pose an obstacle to Defendants’ prompt compliance with the

16          Court’s orders. Indeed, Defendants state that the vetting agencies are returning most NVC

17          security checks results within about a week. Defendants, however, have only requested new

18          NVC checks for a small handful of injunction-protected refugees, based on their decision to

19          resume processing only for individuals who they unilaterally deem to fall within the scope of

20          the injunction.

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 1      d. To the extent necessary to process, admit, and provide resettlement support to
           Injunction-Protected Refugees, issue notices lifting the suspension of USRAP cooperative
 2         agreements for operating Resettlement Support Centers (“RSCs”), including, but not
           limited to, Plaintiffs CWS and HIAS.
 3
            Defendants’ Submission:
 4
                    No feasibility concerns, as the cooperative agreements for RSCs Eurasia, Latin
 5
            America, and Middle East and North Africa (MENA), which are all operated by IOM, were
 6
            never terminated and are not currently suspended. Additionally, the cooperative agreement for
 7
            RSC Africa, operated by CWS, was never terminated and is not suspended. PRM will lift the
 8
            suspensions on cooperative agreements for RSC Asia and RSC Austria but only “[t]o the extent
 9
            necessary to process” individuals who, in accordance with the Ninth Circuit’s May 9 Order,
10
            had a strong reliance interest arising prior to January 20, 2025, as assessed on a case-by-case
11
            basis. PRM understands that the organization that previously operated RSC Turkey and the
12
            Middle East (TuME) is no longer operational, and they have not agreed to the terms of
13
            reinstatement as of the date of this report. There is no need to unsuspend that cooperative
14
            agreement, as the functions necessary to process individuals who, in accordance with the Ninth
15
            Circuit’s May 9 Order, had a strong reliance interest arising prior to January 20, 2025, as
16
            assessed on a case-by-case basis, can be performed by another RSC. PRM is considering which
17
            RSCs may provide support to any such individuals previously supported by RSC TuME.
18
            Plaintiffs’ Submission:
19
                    No response.
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 1      e. Reinstate resettlement partner access, including for CWS and HIAS, to the START,
           FileCloud, RPC Help Desk (ITSM), and any other databases or technologies necessary
 2         to facilitate refugee application processing and travel. This includes ensuring that
           funding is restored for any necessary databases and technology maintained by
 3         resettlement partners, such as the IRIS beneficiary data repository.

 4          Defendants’ Submission:

 5                  No feasibility concern, but, as a matter of policy, and consistent with user agreements,

 6          PRM does not provide access to USRAP systems to entities without a need to know that

 7          information. To limit user access to only what is necessary for official duties, to protect the

 8          integrity of the USRAP, and to reduce the risk of unauthorized disclosure of sensitive

 9          information during the suspension of USRAP operations, PRM limited access to USRAP

10          applications and IT systems, including START, FileCloud, and the Help Desk (ITSM).

11                  Some RSC staff already have had access restored, and PRM will contact RSCs for a

12          list of names of additional RSC staff who need access to PRM-owned-and-operated IT systems

13          to process individuals who, in accordance with the Ninth Circuit’s May 9 Order, had a strong

14          reliance interest arising prior to January 20, 2025, as assessed on a case-by-case basis. Upon

15          receipt of these names, PRM will restore the needed access. PRM will endeavor to restore

16          access within 3 days of receiving the names of individuals who need access.

17          Plaintiffs’ Submission:

18                  It is unclear whether Defendants plan to have reinstated resettlement partner access to

19          necessary USRAP systems by the compliance deadline. Defendants state that some RSC staff

20          at IOM and CWS—who operate the supposedly active RSCs—have already had access

21          restored to necessary USRAP systems. However, it is unclear how many staff have had access

22          reinstated, and to what databases—and whether the level of access restored is sufficient to

23          resume processing. For instance, organizational Plaintiff CWS has an initial list prepared of
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 1          RSC Africa staff who require access, but the government has not yet requested this list from

 2          CWS. This, along with the lack of any guidance from PRM regarding resumption of

 3          processing, means that RSC Africa is not currently able to process any cases, despite

 4          Defendants representation that the RSC is operational.

 5      f. Take immediate steps to facilitate travel and admissions for Injunction-Protected
           Refugees whose clearances, including medical and security authorizations, have not yet
 6         lapsed. Provide reporting to the Court (in accordance with the reporting timeline
           outlined below—i.e., three days after the deadline for compliance) regarding the total
 7         number of these individuals and the timeline for their admission. Given that the
           Government has already begun to admit some Injunction-Protected Refugees, such
 8         admissions should proceed immediately and with haste.

 9          Defendants’ Submission:

10                  No feasibility concern, but there are no Injunction-Protected Refugees whose NVC

11          security checks have not lapsed. Due to issues with recurrent vetting unrelated to the pause of

12          the USRAP consistent with E.O. 14163, NVC security checks are currently only valid for 30

13          days from the time security checks are requested. Therefore, PRM-initiated NVC security

14          checks for all individuals who, in accordance with the Ninth Circuit’s May 9 Order, had a

15          strong reliance interest arising prior to January 20, 2025, as assessed on a case-by-case basis,

16          have lapsed and will need to be re-requested (and run by agency partners) before travel can be

17          scheduled by IOM. Additionally, the Government will need to assess which individuals had a

18          strong reliance interest arising prior to January 20, 2025, as assessed on a case-by-case basis,

19          in accordance with the Ninth Circuit’s May 9 Order.

20          Plaintiffs’ Submission:

21                  As discussed above in response to measure 1.C, rerunning NVC security checks is a

22          routine process and should not represent a significant barrier to resuming travel and admissions

23          for injunction-protected refugees who are otherwise travel ready. Notably, Defendants have
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 1          opted to limit the universe of individuals for whom they have re-requested the security checks

 2          to the group of 160 to whom they wished to restrict application of the injunction, rather than,

 3          for example, all injunction-protected refugees with still-valid medical clearances who would

 4          be otherwise travel-ready. Further delay with respect to resuming processing as to this group

 5          will only lead to compounding delays, as these refugees may have medical and other clearances

 6          expire in the meantime.

 7      g. Develop a comprehensive plan, including a detailed timeline, to renew the travel
           clearances, including security and medical authorizations, of all Injunction-Protected
 8         Refugees whose clearances have lapsed since January 20. This comprehensive plan may
           include a combination of measures, including: extending existing clearances where
 9         possible; arranging new screening appointments where formal extensions are not
           possible; authorizing applicants to arrange their own medical screenings; and facilitating
10         expedited treatment from security vetting agencies. The Government must submit this
           plan to the Court in accordance with the reporting timeline outlined below (i.e., three
11         days after the deadline for compliance).

12          Defendants’ Submission:

13                  No feasibility concerns with developing a comprehensive plan to identify individuals

14          who, in accordance with the Ninth Circuit’s May 9 Order, had a strong reliance interest arising

15          prior to January 20, 2025, starting with conducting a case-by-case review of the 160 refugees

16          who were scheduled to travel in the first two weeks after January 20, 2025. Of these 160

17          refugees, 11 have already been admitted as refugees as part of the Afghan cohort previously

18          referenced in court filings, and 13 more are ready for departure and scheduled for travel next

19          week, leaving 136 individuals who were scheduled to travel in the first two weeks after January

20          20, 2025. Additionally, there are some number of individuals in this cohort of 160 who have

21          since arrived in the United States through pathways other than IOM-facilitated USRAP travel.

22                  Of those remaining in the cohort of 160 who, in accordance with the Ninth Circuit’s

23          May 9 Order, had a strong reliance interest arising prior to January 20, 2025, as determined by
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 1          a case-by-case analysis, 71 refugees still have valid medical examinations. For those who fall

 2          within the scope of the Ninth Circuit’s May 9 Order with expired medical exams, PRM is

 3          consulting with CDC to determine whether the validity of the medical exam can be extended.

 4          For those whose validity cannot be extended, PRM is working with IOM to schedule them for

 5          a new medical exam expeditiously. Scheduling a new medical examination and obtaining the

 6          results can take approximately four to six weeks.

 7                  Additionally, PRM has re-requested new NVC security checks for all of the remaining

 8          refugees of the 160 who have not yet traveled or are not travel ready. Currently, vetting security

 9          agencies (VSAs) are returning some NVC security check responses within approximately one

10          week. However, the circumstances for each case are different—some security checks take

11          much longer if derogatory or conflicting information is uncovered.

12                  It has historically taken approximately 4 weeks for refugees to be allocated and then

13          assured to domestic resettlement partners. However, it is likely that some of the individuals

14          who, in accordance with the Ninth Circuit’s May 9 Order, had a strong reliance interest arising

15          prior to January 20, 2025, as assessed on a case-by-case basis, had been assured to resettlement

16          agencies that are no longer immediately functional, and it will take time to reassess where these

17          individuals can be placed. Additionally, some of the individuals who, in accordance with the

18          Ninth Circuit’s May 9 Order, had a strong reliance interest arising prior to January 20, 2025,

19          as assessed on a case-by-case basis, may have been assured to private sponsor groups, and

20          those sponsors would need to be contacted to determine whether they are still willing to provide

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 1           support to the refugees.2 In addition, Section 412 of the INA, 8 USC 1522(a)(2)(A), requires

 2           HHS/ORR and State to consult at least quarterly with state and local governments regarding

 3           the intended distribution of refugees among the states and localities. This consultation may

 4           need to occur before resettlement of individuals who, in accordance with the Ninth Circuit’s

 5           May 9 Order, had a strong reliance interest arising prior to January 20, 2025, as assessed on a

 6           case-by-case basis.

 7                    USCIS is reviewing the universe of individuals who, in accordance with the Ninth

 8           Circuit’s May 9 Order, had a strong reliance interest arising prior to January 20, 2025, as

 9           assessed on a case-by-case basis, and evaluating who needs a new biometric check. USCIS

10           will likely have identified all individuals in need of a new biometric check by Monday, May

11           12. Biometric check results are typically returned within a few days. Once the biometric

12           security check, NVC security check, and medical clearance are valid for a case and the case

13           has received a domestic placement, PRM will work with IOM to schedule the case for travel.

14           It can take approximately 6 weeks to secure exit permits (depending on the location),

15           coordinate with refugees on departure dates, book travel, and transport refugees to transit

16           centers prior to departure. It is likely that many of the exit permits (the duration of which varies

17           by country) of individuals who, in accordance with the Ninth Circuit’s May 9 Order, had a

18           strong reliance interest arising prior to January 20, 2025, as assessed on a case-by-case basis,

19           have expired, and some of the refugees’ circumstances may have changed (i.e., some may have

20

21

22   2
      Due to the deadline for filing this submission and the time the Ninth Circuit’s May 9 Order was issued, the Government
     has not yet been able to identify which individuals had a strong reliance interest arising prior to January 20, 2025, and
23   whether those individuals were assured to private sponsor groups.
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 1          had children, got married, moved, etc.), complicating travel rescheduling. Finally, once a case

 2          is arranged for travel, prior to departure, USCIS will run a just-in-time TECS/NCIC check.

 3          Plaintiffs’ Submission:

 4                  Defendants state that they do not plan to develop a comprehensive plan for renewing

 5          the security clearances and medical checks for the approximately 12,000 possible injunction-

 6          protected refugees. But Defendants identify no “precise operational constraint” that prevents

 7          them from designing and proposing the plan ordered by the Court. Rather, Defendants propose

 8          that they will instead submit a significantly more limited plan involving a case-by-case review

 9          of 160 cases—1% of the total estimated protected population—with no indication of any plan

10          or timeline to review the remainder of the injunction-protected cases.

11                  Defendants have maintained to the Court that this cohort of 160 refugees has strong

12          reliance interests, May 1, 2025 Hrg. Tr. At 5-6:24-25; 1-6, and it is unclear why further

13          evaluation of this group is necessary to renew clearances. In any event, Defendants should not

14          be permitted to be the case-by-case arbiters of which refugees fall within the Ninth Circuit’s

15          carveout. Plaintiffs request that the Court reject Defendants’ attempt to redefine their

16          obligation under this compliance measure and continue to require Defendants to develop a

17          comprehensive plan for all injunction-protected refugees.

18                  Defendants suggest that one barrier to getting refugees travel-ready is assurances, as

19          Defendants represent that it takes approximately 4 weeks for refugees to be allocated and then

20          assured to resettlement agencies. But the injunction-protected refugees are already allocated

21          and assured to resettlement agencies, so this step should not pose a month-long delay in

22          resettlement.

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 1                     Defendants’ expressed concern about resettlement agencies that are “no longer

 2             immediately functional” is a slippery attempt to avoid recognizing a self-imposed constraint.

 3             As a threshold matter, Defendants have not contacted resettlement agencies to assess their

 4             capacity to resettle the injunction-protected cases that were assigned to them.3 Instead,

 5             Defendants shared with Plaintiffs that they still plan to reinstate only one resettlement agency

 6             to provide R&P services for the entire cohort, rather than utilizing the existing reception &

 7             placement infrastructure, which would allow most refugees to be resettled by the agencies that

 8             have already assured them. This plan to re-allocate all injunction-protected refugees’ cases

 9             would necessarily limit the pace and scale of processing and admissions because no single

10             resettlement agency can possibly do the work that was previously accomplished by ten.

11             Further, no single resettlement agency has the size or geographic scope to be able to provide

12             for resettlement support across the country and ensure that refugees are resettled near any

13             family ties, as contemplated by the Refugee Act.

14                     Defendants also represent that they must consult with state and local government before

15             “large-scale resettlement” of injunction-protected refugees occurs.              Injunction-protected

16             refugees were already allocated to local domestic resettlement agencies and were on the verge

17             of travel and thus their geographic distribution presumably has already been accounted for in

18             past consultations. Further, resettlement agencies have continued participating in quarterly

19             consultations with state and local governments and stakeholders about refugee placement.

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         Organizational Plaintiffs CWS and HIAS remain ready to receive the cases previously assured to them, subject
23 to reassignment within their own networks as needed.
     JOINT REPORT                                                    U.S. Department of Justice
24                                                                   Civil Division, Office of Immigration Litigation
                                                                     P.O. Box 878, Ben Franklin Station
     No. 2:24-cv-00255-JNW                                           Washington, DC 20044
                                                                     (202) 616-4111
                                                           13
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 1          These recurring consultations are an ordinary part of the resettlement process and should not

 2          be invoked as an exceptional circumstance to delay compliance with the orders.

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 4          DATED this 9th day of May, 2025.
 5
                                                 Respectfully submitted,
 6
                                                 YAAKOV M. ROTH
 7                                               Acting Assistant Attorney General
                                                 Civil Division
 8
                                                 DREW ENSIGN
 9                                               Deputy Assistant Attorney General
10                                               /s/ David Kim
                                                 DAVID KIM
11                                               (IL Bar No. 6318223)
                                                 Senior Litigation Counsel
12                                               U.S. Department of Justice
                                                 Civil Division, Office of Immigration Litigation
13                                               Washington, D.C. 20005
                                                 Phone: (202) 598-0114
14                                               Email: david.kim4@usdoj.gov
15                                               ALEXANDRA YEATTS
                                                 JOSEPH MCCARTER
16                                               JASON ZUBATA
                                                 LINDSAY ZIMLIKI
17                                               Trial Attorneys
18                                               Attorneys for Defendants
19

20

21

22

23
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24                                                           Civil Division, Office of Immigration Litigation
                                                             P.O. Box 878, Ben Franklin Station
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                                                             (202) 616-4111
                                                   14
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 1 Deepa Alagesan*                             Harry H. Schneider, Jr., WSBA No. 9404
   Mevlüde Akay Alp*                           Jonathan P. Hawley, WSBA No. 56297
 2 Linda Evarts*                               Shireen Lankarani, WSBA No. 61792
   Ghita Schwarz*                              Esmé L. Aston, WSBA No. 62545
 3 International Refugee Assistance Project    Perkins Coie LLP
   One Battery Park Plaza, 33rd Floor          1201 Third Avenue, Suite 4900
 4 New York, New York 10004                    Seattle, Washington 98101
   Telephone: (646) 939-9169                   Telephone: (206) 359-8000
 5 Facsimile: (516) 324-2267                   Facsimile: (206) 359-9000
   dalagesan@refugeerights.org                 HSchneider@perkinscoie.com
 6 makayalp@refugeerights.org                  JHawley@perkinscoie.com
   levarts@refugeerights.org                   SLankarani@perkinscoie.com
 7 gschwarz@refugeerights.org                  EAston@perkinscoie.com

 8 Melissa Keaney*                             John M. Devaney*
   International Refugee Assistance Project    Perkins Coie LLP
 9 P.O. Box 2291                               700 Thirteenth Street NW, Suite 800
   Fair Oaks, California 95628                 Washington, D.C. 20005
10 Telephone: (646) 939-9169                   Telephone: (202) 654-6200
   mkeaney@refugeerights.org                   Facsimile: (202) 654-6211
11                                             JDevaney@perkinscoie.com
   Laurie Ball Cooper*
12 Megan Hauptman*                             Joel W. Nomkin*
   International Refugee Assistance Project    Perkins Coie LLP
13 650 Massachusetts Ave. NW                   2525 East Camelback Road, Suite 500
   Washington, D.C. 20001                      Phoenix, Arizona 85016
14 Telephone: (646) 939-9169                   Telephone: (602) 351-8000
   lballcooper@refugeerights.org               Facsimile: (602) 648-7000
15 mhauptman@refugeerights.org                 JNomkin@perkinscoie.com

16                                             Nicholas J. Surprise*
                                               PERKINS COIE LLP
17                                             33 East Main Street, Suite 201
                                               Madison, Wisconsin 53703
18                                             Telephone: (608) 663-7460
                                               Facsimile: (608) 663-7499
19                                             NSurprise@perkinscoie.com

20                                             Counsel for Plaintiffs

21                                             * Admitted pro hac vice

22

23
     JOINT REPORT                                      U.S. Department of Justice
24                                                     Civil Division, Office of Immigration Litigation
                                                       P.O. Box 878, Ben Franklin Station
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